 Case 3:16-cr-30013-DRH Document 52 Filed 01/23/17 Page 1 of 3 Page ID #174



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff,      )
                                              )
               vs.                            )       CRIMINAL NO. 16-cr-30013-DRH
                                              )
JAMES L. GARY,                                )
                                              )
                              Defendant.      )


               GOVERNMENT=S RESPONSE TO DEFENDANT=S
        MOTION TO PRODUCE OFFICIAL LAB TESTING REPORT (DOC. 47)

       Now comes the United States of America by and through its attorney, Donald S. Boyce,

United States Attorney for the Southern District of Illinois, and in response to the Defendant=s

Motion to Produce Official Lab Testing Report states as follows:

       1.      On January 21, 2016, the Grand Jury returned the indictment in this case charging

the Defendant with conspiracy to distribute methamphetamine (Count1) and with attempting to

obtain contraband in prison (Count 3). Prior to the return of the indictment, the drug evidence in

this case had field tested positive for methamphetamine, but final lab results had not yet been

received.

       2.      At various points throughout the pendency of this case, counsel for the Defendant

and counsel for the United States discussed the need for a final lab analysis of the drug evidence

with the understanding that as soon as the lab report was received by counsel for the United States,

it would be disclosed to counsel for the Defendant.

       3.      On January 18, 2017, the Defendant filed the instant Motion to Produce Official

Lab Testing Report. (Doc. 47).



                                                  1
 Case 3:16-cr-30013-DRH Document 52 Filed 01/23/17 Page 2 of 3 Page ID #175



       4.      On today’s date, the undersigned counsel for the United States received the lab

reports on the drug evidence in this case, and the reports were immediately disclosed to counsel

for the Defendant. Copies of the reports are also attached hereto as Exhibit 1.

       WHEREFORE, the United States respectfully requests this Court to deny the Defendant=s

Motion to Produce Official Lab Testing Report as moot.

                                                     Respectfully submitted,

                                                     DONALD S. BOYCE
                                                     United States Attorney

                                                     s/Donald S. Boyce
                                                     Donald S. Boyce
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                                                2
 Case 3:16-cr-30013-DRH Document 52 Filed 01/23/17 Page 3 of 3 Page ID #176



                                     Certificate of Service

       I hereby certify that on January 23, 2017 I caused to be electronically filed Government=s

Response to Defendant=s Motion to Produce Official Lab Testing Report with the Clerk of Court

using the CM/ECF system which will send notification of such filing(s) to all attorneys of record,

including the following:

                      Eugene O. Howard

                                                    Respectfully submitted,

                                                    DONALD S. BOYCE
                                                    United States Attorney

                                                    s/Donald S. Boyce
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